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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

UNITED STATES                  *
                               *
    v.                         *      CRIM. NO. 20-499 (FLW)
                               *
TERRY HAUPT                    *
                               *
                             *****
 ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING
            FOR FELONY PLEAS AND/OR SENTENCINGS

        In accordance with Standing Order 2020-06, this Court finds:

  ✔      That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

  ✔      That the proceeding(s) to be held today cannot be further delayed without serious harm

to the interests of justice, for the following specific reasons:

See Exhibit attached hereto.



Accordingly, the proceeding(s) held on this date may be conducted by:
   ✔      Video Teleconferencing

          Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

                  The Defendant (or the Juvenile) is detained at a facility lacking video

        teleconferencing capability.

                  Other:




Date:                                                                      October 20, 2020
                                                                   Honorable Freda L. Wolfson, Chief Judge
                                                                   United States District Judge
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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA            Honorable Freda L. Wolfson
                                      Crim. No. 20-499 (FLW)
                                      EXHIBIT TO ORDER REGARDING USE
                                      OF VIDEO
                    v.
                                      CONFERENCING/TELECONFERENCING
                                      FOR FELONY PLEAS AND/OR
                                      SENTENCINGS
  TERRY HAUPT



       The Court finds that the sentencing hearing to be held on October 20,
2020 cannot be further delayed without serious harm to the interests of
justice, for the following reasons:
      1. To ensure that the Court is not overwhelmed by cases and
         proceedings at the conclusion of this period of emergency. Currently,
         District Judges in New Jersey handle a substantially larger docket of
         cases than Judges in other Districts in the United States. New
         criminal cases continue to be assigned by the Court during the
         emergency. If the Court cannot resolve matters by guilty plea and
         sentencing, the resulting backlog will overwhelm the Court’s ability to
         effectively function. The concern of such congestion and the
         particular harm that likely will be caused by delays in the processing
         of cases and matters in the future is particularly acute in this
         emergency, at least given that: (1) it is unknown when this emergency
         will subside and when the Court will be able to function at normal
         capacity (including, among other things, the empanelment of trial
         juries) and (2) this District’s pre-existing shortage of District Court
         Judges which already has challenged the Court’s ability to process
         and resolve cases. This District has six District Judge vacancies: two
         have been pending for more than five years; one has been pending
         almost three years; two have been pending for more than a year; and
         one has been pending almost a year. The Federal Judicial Conference
         has deemed the District’s six vacancies judicial emergencies.
      2. To permit the defendant to obtain a speedy resolution of his case
         through a timely sentencing to afford appropriate punishment and
         rehabilitation. The defendant has asked for a timely sentencing in
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       this matter. The Court is expected to have a substantial backlog of
       cases on its docket at the conclusion of this period of emergency. At
       this time, the Court cannot accurately predict where the defendant’s
       case will be prioritized within that backlogged docket. As a result, the
       defendant’s interest in a speedy resolution of his case will be seriously
       harmed if the proceeding does not occur today.
    3. To permit the Government to obtain a resolution of the case so that
       the Government, already operating in a restricted capacity due to the
       emergency, may appropriately focus its resources on other, emerging
       criminal matters. The Government has asked for a timely sentencing
       in this matter.
